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UNITED STATES DISTRICT COURT
CENTRAL l)lSTRlCT OF FLORIDA
.IACKSONVILLE DlVlSlON

 

 

Stephen Knuth,
Case No.: ._-_3
Plaintiff. f ' §
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V` _'- ' 7 - r‘\.'.*
: _ 53
Springleaf Financia| Services ofAmerica, ' ' jj
Inc. aka Onel\/Iain Financial of`America, lnc. F`;
Defendant. (c.`
/
COMPLA|NT
.IURY DEMANI)

l.

Plaintit`f`, Stephen Knuth (hereinafter “Plaintifi”), alleges violations of the
'l`clephone Consumer Protection Act, 47 U.S.C §227, et .s'eq. (“TCPA”) against Del`endant,

Springleaf Financial Services/Onel\/lain l"`inancial l*loldings, LLC, (hereinafter “Onel\/lain"') and
states the following in support thereof`:

JURISI)ICT|()N AND VENUE
2. 'l`his Court has jurisdiction under 28 U.S.C. §1331. Supplemental jurisdiction
exists for the state law claim pursuant to 28 U.S.C. §1367.

q

.J.

Venuc in this District is proper because Plaintiff resides here and Det`endant
placed telephone calls into this Dislricl.

PARTlES
4.

Plaintit`f is a natural person. and citizen of the State of Florida. residing in
Jacl<sonville, Florida.

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5. Plaintiff is the regular user of the cellular telephone number at issue, (954) 290-
6537, and Was the “called party” and recipient of Defendant’s hereinafter described calls. See
Soppet v. Enhanced Recovery Co., LLC, 670 F.3d 637, 643 (7"‘ Cir. 2012), denied (May 25,
2012); see also Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth Cir. 2014).

6. Defendant Springleaf Financial Services, of Ameria Inc. is an Indiana
corporation also doing business under the name of OneMain Financial of America, Inc. with its
principal place of business located at 601 NW 2nd St. #300, Evansville, IN 47708.

7. Plaintiff is also registered with the Florida Department of State Division of
Corporations as a Fictitious Name of Patent Law Services International, 5290 Big Island Dr.,
Apt. #1406 Jacksonville, FL 32246.

8. Defendant is a “person” as defined by Florida Statute §559.55.

FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

9. Defendant attempted to collect an alleged debt arising from transactions
primarily incurred for personal, family or household purposes from Plaintiff. Specifically,
Defendant attempted to collect an alleged debt from Plaintiff concerning a personal loan.

10. At all times relevant to this action, Plaintiff received 3 calls to his cellular
telephone from Defendant in an effort to collect the alleged debt at issue according to the

following schedule:

 

Number Date Time Notes

 

 

(540) 786-7690 5.3.2016 2:4SPM Representative

called, but Plaintiff
could not pick-up
and no voice mail
was left. Plaintiff
called Defendant
back and left a

 

 

 

 

 

 

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voice message.
Plaintiff
specifically stating
he did not want to
be called.

 

(540) 786-7690

5.3.2016

6:23PM

Branch manager
Jeff McCowan
called, but Plaintiff
could not pick-up
and voice mail was
left. Plaintiff called
back and
continued

Defendant also
knew of the verbal
cease and desist
order Plaintiff gave
his associate on or
about April 25,
2016. Defendant
stated it was OK to
call back despite
confirming the
verbal revocation
of consent.
Plaintiff also
reiterated he did
not Want to be
contacted again.
Plaintiff then
faxed a written
revocation of
consent that
evening that was
confirmed to be
received.

 

(812) 468-5416

 

 

5.5.20]6

 

10:26AM

 

Service phone call
follow-up from a
conversation

 

 

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Plaintiff had with a
local branch
manager in
Jacksonville, FL.
Representative of
Defendant stated
she knew of
revocation, but
said she could call
because “it Was
customer service
related.”

 

 

 

 

 

 

ll. Upon answering the above listed calls, Plaintiff was greeted either by an
automated machine-operated voice message or a noticeable period of “dead air” while the
caller’s telephone system attempted to connect to a live telephone employee

12. Defendant’s method of contacting Plaintiff is indicative of its ability to dial
numbers without any human intervention, which the FCC has opined is the hallmark of an
automatic telephone dialing system. See In the Matter ofRules & Regulatz`ons lmplementing the
Telephone Consumer Protection Act of 2008, 23 F.C.C.R. 559, 565-66 (2008),' see also In the
Matter ofRules & Regulations lmplementing the Telephone Consumer Protection Act of 1991,
18 F.C.C.R. 14014, 14091-92 (2003).

13. During the relevant time period, Plaintiff informed the agents/representatives of
Defendant, on several occasions, that they were calling his cellular phone and demanded that
Defendant cease placing calls to his cellular telephone number. Plaintiff twice verbally revoked
consent over the phone on March 1, 2016 and May 3, 2016. Plaintiff was contacted in a
subsequent phone conversation on or about July 1, 2017 where Defendant’s corporate

representative admitted that Plaintiff`s was enlisted in Defendant’s corporate automated dialing

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system until May 31, 2016 and was then removed from the corporate automated dialing system.
Defendant also faxed a written revocation of consent again on May 3, 2016.

14. During the aforementioned communications, Plaintiff unequivocally revoked any
express consent Defendant may have had for the placement of telephone calls to Plaintiff’s
cellular telephone number by the use of an automatic telephone dialing system or a pre-recorded
or artificial voice.

15. Each and every call subsequent to the first revocation that Defendant made to the
Plaintiff’s cellular telephone number was done so Without the express consent of the Plaintiff.

16. Each and every call subsequent to the first revocation that Defendant made to the
Plaintiff’s cellular telephone number was knowing and willful.

17. Despite actual knowledge of their wrongdoing, Defendant continued the
campaign of abuse, calling the Plaintiff despite Plaintiff having revoked any express consent
Defendant may have had to call his cellular telephone number.

18. Plaintiff`s damages were caused by and directly related to Defendant’s attempts
to collect a debt by using an automatic telephone dialing system or predictive dialer to ca11
Plaintiff’s cellular telephone.

19. From each and every call placed without express consent by Defendant to
Plaintiff"s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon
their right of seclusion.

20. From each and every ca11 without express consent placed by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of their cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers

or outgoing calls while the phone was ringing from Defendant’s call.

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21. From each and every ca11 placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of their time.

22. Speeifically, Plaintiff had to waste his time dealing with missed ca11 notifications
and call logs that reflect the unwanted calls, This also impaired the usefulness of these features
of Plaintiff`s cellular phone, which are designed to inform the user of important missed
communications

23. Each and every ca11 placed without express consent by Defendant to Plaintiff`s
cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that
were answered, Plaintiff had to go to the unnecessary trouble of answering them. For
unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected
the unwanted calls.

24. Each and every call placed without express consent by Defendant to Plaintiff`s
cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery
power.

25. Each and every call placed without express consent by Defendant to Plaintiff"s
cell phone resulted in the injury of a trespass to Plaintist chattel, namely their cellular phone
and his cellular phone services

26. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also effected in a personal and individualized way by stress, anxiety, nervousness,
embarrassment, distress, and aggravation

27. Defendant’s corporate policy is structured so as to continue to call individuals

like Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

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28. Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s
number removed from Defendant’s call list.

29. Defendant has numerous complaints against it across the country asserting that
its automatic telephone dialing system continues to call despite being requested to stop.

30. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(a).

31. Defendant Willfully or knowingly violated the TCPA.

COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

32. Plaintiff incorporates Paragraphs 1 through 31 herein.

33. Defendant repeatedly placed non-emergency telephone calls to Plaintiff`s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice
without Plaintiffs express consent in violation of 47 U.S.C § 227(b)(l)(A)(iii).

34. Defendant knowingly or Willfully violated the TCPA with respect to Plaintiff,
specifically for each of the auto-dialer calls made to Plaintiff` s cellular telephone after Plaintiff
notified Defendant that Plaintiff did not wish to receive any telephone communication from
Defendant and demanded for the calls to stop.

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and
against Defendant for $500.00 dollars in statutory damages for each violation of the TCPA over
the last four years, $1,500.00 dollars in statutory damages for each knowing or willful violation
of the TCPA over the last four years, a declaration that Defendant’s calls violate the TCPA, a
permanent injunction prohibiting Defendant from placing non-emergency calls to the cellular
telephone of Plaintiff using an automatic telephone dialing system or pre-recorded or artificial

voice, litigation expenses and costs of the instant lawsuit; and such further relief as this Court

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may deem appropriate More specifically, Plaintiff requests that the Court enter judgment in
favor of Plaintiff and against Defendant for an additional $4,500 in statutory damages

JURY DEMAND

Plaintiff demands a trial byjury on all issues so triable.

Respectfully submitted,

By:/s/ Kevin Ra[abalee
Kevin Rajabalee

FL Bar No: 119948

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A ttol~ney for Plaintiff

